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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 JOSE ENRIQUE GORDILLO
   PORTOCARRERO,

                Movant,
                                                               No. l:16-cv-00763(LMB)
                                                               No. l:10-cr-00066-l(LMB)

 UNITED STATES OF AMERICA,

                Respondent.


                                  MEMORANDUM OPINION


       Before the Court is Jose Enrique Gordillo Portocarrero's("movant" or "Gordillo")

Motion to Vacate Under 28 U.S.C. § 2255 [Dkt. No. 35]("Motion to Vacate")and the

Government's Motion to Dismiss Defendant's Petition Under 28 U.S.C. § 2255 [Dkt. No.47]

("Gov't Mot."). For the reasons that follow, the Government's Motion will be GRANTED,and

Gordillo's Motion to Vacate will be DISMISSED.

                                       I. BACKGROUND


           A. Factual Background

       On March 9,2010, Gordillo waived indictment[Dkt. No. 13] and pleaded guilty to a two-

count criminal information [Dkt. No. 14] charging him in Count 1 with aiding and abetting

attempted murder in aid ofracketeering in violation of Virginia Code §§ 18.2-26 and 18.2-32

and 18 U.S.C. §§ 1959(a)(5) and 2 and in Count 2 with aiding and abetting the discharge ofa

firearm during or in relation to a crime of violence in violation of 18 U.S.C. §§ 924(c)(l)(A)(iii)

and 2. The aiding and abetting attempted murder charged in Count 1 was the predicate crime of

violence for Count 2.
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